      Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

UNITED STATES OF AMERICA               )       CASE NO: 1:21-CR-48
                                       )
v.                                     )
                                       )
SAMMIE LEE SIAS                        )

                   GOVERNMENT’S PROPOSED VOIR DIRE

      Now comes the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorneys, pursuant to Federal Rule of Criminal Procedure

24(a), hereby respectfully request that the Court propound the following voir dire

questions to the prospective jurors:

                              GENERAL VOIR DIRE

      The government requests that the Court ask its standard voir dire questions as

well as the general voir dire and special voir dire questions contained within the

following paragraphs.

                      PERSONAL AND FAMILY MATTERS

1.    What is your name?

2.    In what city do you reside?

3.    Are you married?

4.    Do you have any children?

5.    What are their ages?

6.    Does anyone other than your spouse and children live in your household?


                                           1
     Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 2 of 6




                                 EMPLOYMENT

1.   What is your job or occupation?

2.   Who is your employer?

3.   What are your duties and responsibilities?

4.   If you are retired, what was your last job or occupation?

5.   If you are married, is your spouse employed?

6.   Who is his/her employer?

7.   What are his/her duties and responsibilities?

8.   If he/she is retired, what was his/her last job or occupation?

                                  EDUCATION

1.   What is the extent of your formal education?

                   CONTACT WITH LAW ENFORCEMENT

1.   Have you or any member of your immediate family ever been arrested for,
     or convicted of, any crime?

2.   Are any criminal charges now pending against you, any member of your family
     or any close friend?

3.   Have you, or any member of your family, or any close relative or close friend,
     ever been a victim of a crime?

4.   Have you, or any member of your family, or any close relative or close friend,
     ever been asked questions by the police or law enforcement agents conducting
     an investigation?

5.   Have you, or any member of your family, or any close relative or close friend,
     ever been a testifying witness in a criminal case?

6.   Do you have any strong feelings, pro or con, about the Georgia Bureau of
     Investigation or Federal Bureau of Investigation?

                                         2
     Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 3 of 6




7.   Do you have any strong feelings, pro or con, about the Department of Justice?

8.   Do you have any strong feelings, pro or con, about the United States Attorney’s
     Office or the United States Government?

                      CONTACT WITH COURT SYSTEM

1.   Have you served on a jury before?

2.   Was it civil or criminal?

3.   If civil, do you understand there are different burdens of proof?

4.   How would you describe your experience?

5.   Have you, or any member of your family, or any close relative or close friend,
     ever filed a lawsuit or been named in a lawsuit?

6.   Have you, or any member of your family, or any close relative or close friend,
     ever been a witness in a lawsuit?

7.   Do any of you have any concerns about the criminal justice system that would
     make it difficult for you to be a juror in this case?

                             PERSONAL HEALTH

1.   Do you have any vision or hearing problems which may cause you difficulty as
     a juror?

2.   Do you have any other health or medical problems which may cause you and
     difficulty as a juror?

                             PRINCIPLES OF LAW

1.   I will instruct you as to the applicable law and your duty is to apply the law to
     the facts as you find them.

2.   Will you be able to accept the law I give to you and apply it to the facts? Even
     if you disagree with the law?

3.   Will you be able to accept the law I give you and apply it to the facts regardless
     of any personal feelings or opinions you might have about this case or about
     any participant in the trial?

                                         3
      Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 4 of 6




4.    Do you understand that you are to decide this case based solely on the evidence
      presented in this courtroom and on the law as I give it to you?

5.    Every defendant is presumed to be innocent. To overcome this presumption,
      the government is required to prove beyond a reasonable doubt that the
      defendant is guilty. Do you understand that proof beyond a reasonable doubt
      does NOT mean proof beyond all possible doubt, and that reasonable doubt is
      a doubt based on reason and common sense?

6.    If you believe that the government has proved beyond a reasonable doubt that
      the defendant is guilty, do you have any philosophical, religious, or moral belief
      that would prevent you from sitting in judgment of the defendant and
      returning a guilty verdict?

7.    Do you understand that you should in no way be influenced by sympathy for
      the defendant, bias for or against him, or bias for or against the government?

8.    Do you understand that you should in no way be influenced by any prejudices
      that you might hold?

9.    Do you understand that it is my duty to decide how a convicted defendant will
      be sentenced? Do you understand that this is not a matter for the jury to
      decide, and is not a matter that should be considered by you in any way when
      deciding whether the defendant is guilty?

10.   Is there any reason you can think of now that would make it difficult or
      uncomfortable for you to sit as a juror in this case?

                              SPECIAL VOIR DIRE

1.    Do you know the defendant?

2.    Do you know the defense attorney? Have you or a family member ever been
      represented by his law firm?

3.    Have you heard anything about the facts of this case before today?

4.    Have you, a family member, or close friend ever worked for the City of
      Augusta?

5.    Have you, a family member, or close friend ever been affiliated with the
      Sandridge Community Association?



                                          4
      Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 5 of 6




6.    Have you, a family member, or close friend ever been associated with the
      Jamestown Community Center and Park?

7.    Have you, a family member, or close friend ever been the recipient of Special
      Purpose Local Option Sales Tax (SPLOST)?

8.    If you currently live in Richmond County, which Commission District do you
      live in?

9.    Have you ever lived in Commission District 4 in Richmond County, Georgia?

10.   Do any of you have training or education in computers?

11.   Do any of you think you will have difficulty understanding terms relating to
      computers?

12.   Do any of you have training or education in accounting or finance?

                                      Respectfully submitted,

                                      DAVID H. ESTES
                                      UNITED STATES ATTORNEY

                                      /s/ Patricia Green Rhodes
                                      Patricia Green Rhodes
                                      Chief, Criminal Division
                                      Assistant United States Attorney
                                      Georgia Bar No. 307288
                                      P.O. Box 2017
                                      Augusta, GA 30903
                                      (706) 724-0517
                                      patricia.rhodes@usdoj.gov

                                      /s/ Tara M. Lyons
                                      Tara M. Lyons
                                      Deputy Chief, Criminal Division
                                      Assistant United States Attorney
                                      South Carolina Bar No. 16573
                                      United States Attorney’s Office
                                      Southern District of Georgia
                                      P.O. Box 2017
                                      Augusta, Georgia 30903
                                      T: (706) 724-0517
                                      tara.lyons@usdoj.gov

                                         5
      Case 1:21-cr-00048-JRH-BKE Document 52 Filed 07/07/22 Page 6 of 6




                            CERTIFICATE OF SERVICE


       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 7th day of July, 2022.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        /s/ Patricia Green Rhodes
                                        Patricia Green Rhodes
                                        Chief, Criminal Division
                                        Assistant United States Attorney
                                        Georgia Bar No. 307288
                                        P.O. Box 2017
                                        Augusta, GA 30903
                                        (706) 724-0517
                                        patricia.rhodes@usdoj.gov

                                        /s/ Tara M. Lyons
                                        Tara M. Lyons
                                        Deputy Chief, Criminal Division
                                        Assistant United States Attorney
                                        South Carolina Bar No. 16573
                                        United States Attorney’s Office
                                        Southern District of Georgia
                                        P.O. Box 2017
                                        Augusta, Georgia 30903
                                        T: (706) 724-0517
                                        tara.lyons@usdoj.gov




                                           6
